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                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

John Doe,                                    :
                                             :       Case No. 2:16-cv-00171
              Plaintiff,                     :
                                             :       Judge George C. Smith
       v.                                    :
                                             :       Magistrate Chelsey M. Vascura
The Ohio State University,                   :
                                             :
              Defendant.                     :


                   STIPULATION OF DISMISSAL WITH PREJUDICE

       Now come the parties hereto, by and through counsel, and stipulate that all

claims which were brought, or which could have been brought, in this case are

resolved and are hereby dismissed with prejudice.

                                             Respectfully submitted,



                                             MICHAEL DEWINE (0009181)
                                             Ohio Attorney General

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                                     /s/ Tracy L. Turner____________________
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